   Case: 1:12-cv-01132 Document #: 210 Filed: 12/06/13 Page 1 of 3 PageID #:2213



                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

DAVID D. WILBON, RICO M. WILBON,                           )
and GEORGE J. SMITH,                                       )
                                                           )
                                Plaintiffs,                )
        v.                                                 )
                                                           ) Case No. 12 C 1132
JOSEPH M. PLOVANICH, OFFICER                               )
MILLAN (Star # 6082), KEVIN A. GRANEY,                     ) Judge Marvin E. Aspen
ROBERT MANGAN, MICHAEL T.                                  )
KARCZEWSKI, SARAH McDERMOTT,                               ) Magistrate Judge Geraldine Soat Brown
NOEL ESQUIVEL, ANTONIO J. VALENTIN,                        )
MARK A. KUSHINER, JORGE CERDA,                             )
ARMANDO SILVA, JR., RAFAEL S. GARCIA,                      )
J. J. GORZKOWSKI, UNKNOWN OFFICERS                         )
OF THE CHICAGO POLICE DEPARTMENT,                          )
and CITY OF CHICAGO,                                       )
                                                           )
                                Defendants.                )

        PLAINTIFFS’ MOTION FOR ORDER EXTENDING DEADLINE FOR
     PLAINTIFFS TO RESPOND TO DEFENDANTS’ MOTION FOR SUMMARY
JUDGMENT, AND ALLOWING PLAINTIFFS TO FILE A MEMORANDUM IN EXCESS
 OF 15 PAGES AND FILE MORE THAN 40 STATEMENTS OF ADDITIONAL FACTS

        Plaintiffs, DAVID D. WILBON, RICO M. WILBON, and GEORGE J. SMITH, by and

through their attorney, Irene K. Dymkar, move the Court for an order extending the deadline for

plaintiffs to file their response to defendants’ motion for summary judgment, and allowing plaintiffs

to file a memorandum in excess of 15 pages and file more than 40 statements of additional facts. In

support of this motion, plaintiffs state:

        1) This action was commenced by the filing of a complaint alleging a cause of action under

the Civil Rights Act of 1871 (42 U.S.C. §1983), to redress deprivations of the civil rights of

plaintiffs through acts and/or omissions of defendants committed under color of law.
   Case: 1:12-cv-01132 Document #: 210 Filed: 12/06/13 Page 2 of 3 PageID #:2214



       2) On November 21, 2013, plaintiffs filed a motion to strike defendants’ memorandum of

law in support of their motion for summary judgment for exceeding the page number limit set by

local rule and for exceeding the number of statement of facts allowed. Alternatively, plaintiffs

moved to extend the time in which to file a response. Document 196.

       3) The Court issued an order instructing defendants to respond to plaintiffs’ motion to

strike by December 5, 2013, and plaintiffs to reply by December 10, 2013. Document 199.

       4) The Court also issued an order setting December 30, 2013, as the deadline for responses

to dispositive motions to be filed. Under this same order, the Court set January 10, 2014, as the

deadline for replies to be filed. Document 200.

       5) As plaintiffs’ counsel informed the Court in its motion (Document 196), due to a

recently discovered medical problem, plaintiffs’ counsel is scheduled to have surgery on

December 11, 2013, which will require her to be on medical leave until January 6, 2014, during

which time she will not be in the office and she will not able to use a computer. Thereafter, when

counsel returns to work, she will have a limited workday to allow for extended rehabilitation.

Counsel will also be facing a backlog of work upon her return to the office.

       6) Defendants have filed a 35-page memorandum of law and 120 statements of fact in

support of their motion for summary judgment. It will be an arduous and time-consuming task for

plaintiffs to respond to a motion of this magnitude.

       7) Because of the unexpected medical situation of plaintiffs’ counsel, and the size of

defendants’ motion, plaintiffs’ counsel cannot comply with the schedule set by the Court (responses

due December 30, 2013, and replies due January 10, 2014). Given the schedule of recovery as

plaintiffs’ counsel now knows it, she will need until February 3, 2014, to complete her response to

defendants’ motion.
   Case: 1:12-cv-01132 Document #: 210 Filed: 12/06/13 Page 3 of 3 PageID #:2215



       8) If the Court accepts defendants’ oversized memorandum and statement of facts,

plaintiffs request that plaintiffs also be allowed to file a 35-page memorandum of law, and be

allowed to file 80 statements of additional facts. Defendants are seeking a dismissal of all

defendants and all claims in plaintiffs’ complaint, and plaintiffs will need the extra pages and

statements to adequately address all issues.

       WHEREFORE, plaintiffs respectfully request that the Court grant an order extending the

deadline for plaintiffs to respond to defendants’ motion for summary judgment to February 3, 2014,

and allowing plaintiffs to file a memorandum in excess of 15 pages and file more than 40

statements of additional facts, as set forth herein.


Dated: December 6, 2013                                    /s/   Irene K. Dymkar
                                                                 Irene K. Dymkar

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